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MASON COUNTY SUPERIOR COURT

PATRICK and BETTY ROBERTS,
a married couple,
Plaintiffs, NO.
10-2-00364-23
vs.
MASON COUNTY SHERIFFS OFFICE COMPLAINT

and Casey Salisbury, in his current capacity
as Sheriff of Mason County, Washington,
and Deputy Matt Gray, individually and in
his capacity as a Deputy of Mason County Sheriff's
Office, .
DEFENDANTS.

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Plaintiffs PATRICK ROBERTS and BETTY ROBERTS, by and through attorney Bruce
Finlay, alleges and states as follows:

I. PARTIES/JURISDICTION & VENUE

1.1 Plaintiffs were at times material hereto a resident of Mason County, Washington.

1.2 Defendant Mason County Sheriff's Office is a governmental entity and Defendant
Casey Salibury is the current Sheriff of this County, and was the Sheriff at the time
of the events complained of.

1.3 Defendant Mason County Sheriff's Deputy Matt Gray was at all material times
hereto an employee of the Mason County Sheriff's office.

1.4 The subject matter of this Complaint concerns actions and omissions as against the

Plaintiffs by these Defendants within the confines of Mason County, Washington.
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1.5 Jurisdiction and Venue are proper herein.

If. FACTS

2.1 Plaintiffs are a married couple residing in Mason County, Washington. On or about
June 12, 2017, police officers including Defendant Deputy Matt Gray responded to an unknown
disturbance call at Plaintiff's residence. Upon investigation, police learned that Patrick was the
victim of an assault and Betty had nothing to do with the situation.

2.2 Patrick Roberts was contacted by Deputy Gray on the Roberts’ property. Patrick’s
clothing was torn and he was bleeding. Patrick was a victim of an assault. Neither Betty nor
Patrick had committed any crimes, nor did the police have probable cause to believe that they
did.

2.3 Patrick was too upset to be of much help in answering Deputy Gray’s questions;
which made the deputy irritated such that he made the unjustified decision to arrest Patrick for
obstructing.

2.4 It cannot be obstructing for a witness to not provide information as a matter of law.

2.5 Patrick did not resist arrest, either, nor did the officer have grounds to believe that he
did.

2.6. Deputy Gray lunged toward Patrick to arrest him so quickly that he struck Betty

Roberts and chipped her tooth. Both Patrick and Betty sustained injuries in amounts to be

proven at trial.

lil. CAUSES OF ACTION

FALSE IMPRISONMENT
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3.1 Plaintiff Patrick Roberts restates and re-alleges all prior paragraphs as if fully set forth

herein.

3.2 Plaintiff was detained and/or restrained against his will.

3.3 Plaintiff's detention and/or restraint was unlawful.

3.4 Asa direct and proximate result of this unlawful detention or restraint the Plaintiff has

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been made to suffer damages as shall be proven at time of trial or hearing.

ASSAULT

Plaintiffd restate and re-allege all prior paragraphs as if fully set forth herein.
Defendant Deputy Matt Gray engaged in harmful actions as against the Plaintiff.
The Defendants’ harmful actions as against the Plaintiffs included physical assault.
The physical actions of the Defendants were intentional and injurious to Plaintiffs.
As a direct and proximate result of the assaultive behavior by these Defendants the

plaintiffs were made to suffer damages as shall be proven at time of trial or hearing.

BATTERY
Plaintiffs restate and re-allege all prior paragraphs as if fully set forth herein.

Defendants engaged in harmful or offensive contact with the Plaintiffs.
Defendants intended harmful or offensive contact when this contact was made.
Plaintiffs were made to suffer harm as a direct and proximate result of these harmful

and offensive contacts in amounts to be proven at time of trial or hearing herein.

VIOLATION OF CIVIL RIGHTS
42 USC 1983

Plaintiffs restate and re-allege all prior paragraphs as if fully set forth herein.
Defendants acted (and/or directed subordinates to act as a long standing custom or

practice of implemented policy) under color of law to deprive the Plaintiff of rights
protected by the Constitution of the United States of America.
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3.16 The actions of the Defendants did in fact deprive the Plaintiff of rights under color of
law.

3.17 Asa direct and proximate result of the actions of the Defendants the Plaintiff has
been injured in an amount to be proven at time of trial or hearing, including, but not

limited to damages available under 42 USC 1988.

OUTRAGE

3.18 Plaintiffs restate and re-allege all prior paragraphs.

3.19 The actions of the Defendants in the alleged investigation of an unknown disturbance
call and all subsequent actions were extreme and outrageous in form.

3.20 Plaintiffs were forced to be subjected to assaultive behavior, assaulted and battered
and injured.

3.21 The Defendants actions were either intentional or so reckless as to amount to
intentional.

3.22 Asa direct and proximate result of the actions of the Defendants the Plaintiffs have

been injured in an amount to be proven at time of trial or hearing.

Wherefore, Plaintiff, having set forth cause of action requests the Court order the following
relief:

A) Findings of Fact and Conclusions of law as against Defendants in accord with proof as to
each claim as shall be proven at time of trial or hearing.

B) An award of damages, in accord with proof to be presented at time of trial or hearing for
all damages suffered and sustained by the Plaintiffs in association with those actions
complained of herein.

C) All damages available to Plaintiffs under the parameters of 42 USC 1988, inclusive but
not limited to costs and attorney fees.

D) For such other and

    
 

er relief as the Court deems just and appropriate.

mitted this 6" day of August, 2020.

 

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Attorney at Law
PO Box 3

Shelton, WA 98584
360-432-1778

VERIFICATION

THE UNDERSIGNED, pursuant to RCW 9A.72.085 states:

I am a Plaintiff herein. I have reviewed the above referenced complaint and I certify that the
content is truthful and accurate to the best of my knowledge and belief.

Signed this day of August, 2020, in Mason County, Washington.

CST eS

Patrick Roberts

 

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